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                         UNITED STATES DISTRICT COURT
                          NORTHERN DISTRICT OF TEXAS
                               DALLAS DIVISION

   CATHERINE A. BLACK,                         §
                                               §
          Plaintiff,                           §
                                               §
   v.                                          §
                                               §   Civil Action No. 3:22-CV-2116-X
   UNUM LIFE INSURANCE                         §
   COMPANY OF AMERICA,                         §
                                               §
          Defendant.                           §

                       MEMORANDUM OPINION AND ORDER

        Before the Court are parties’ trial briefs, which the Court rules on without a

 bench trial due to the nature of the case. Plaintiff Catherine A. Black’s (Black) trial

 brief, (Doc. 104), and Defendant Unum Life Insurance Company of America’s (Unum)

 trial brief, (Doc. 100) outline the parties’ arguments and evidence. Black also moved

 to admit her trial exhibits into evidence, which the Court GRANTS. (Doc. 114).

 Because Unum substantially complied with statutory requirements and did not abuse

 its discretion, the Court GRANTS judgment on the record in favor of Unum.

                                   I. Background

        This is a disability case governed by the Employee Retirement Income Security

 Act of 1974 (“ERISA”). Black worked as an Operational Support Administrator for

 Paycom until she suffered complications after a surgery to remove her gallbladder in

 2014. When she returned to work, she developed headaches, dizziness, and vertigo

 and submitted a disability claim to receive benefits from a plan (the Policy) that

 Unum administered and insured. Unum approved her claim.

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        Under the Policy, an employee is disabled when Unum determines she is

 “limited from performing the material and substantial duties of [her] regular

 occupation due to [her] sickness or injury” and she has lost 20% or more of her

 “indexed monthly earnings due to the same sickness or injury.” 1 After a covered

 employee receives twenty-four months of payments under this definition, the

 standard changes to cover only those who are “unable to perform the duties of any

 gainful occupation for which [they] are reasonably fitted by education, training or

 experience” due to the same sickness or injury. 2

                        A. Unum’s Initial Denial of Coverage

        Over the ensuing years, Black’s symptoms persisted until she was diagnosed

 with thoracic outlet syndrome. During this time, she provided Unum with periodic

 proof of her continued disability to maintain coverage under the Policy.           After

 recovering from a spinal surgery, Black submitted a Disability Status Update to

 Unum in June 2021, listing three treating physicians: nurse practitioner Julie

 Hamilton, her primary care provider (NP Hamilton), Dr. Nmadi Dike, her neurologist

 (Dr. Dike), and Dr. Scott Blumenthal, her spinal surgeon (Dr. Blumental). 3 In this

 update, Black wrote that she was “still unable to scrub pots and pans [or] vacuum”

 but was “much better w/ reading and being on the computer for at least 30 mins at a

 time.” 4



        1 UA-REMAND-CL-LTD-000096.

        2 Id.

        3 UA-REMAND-CL-LTD-002018.

        4 Id. (cleaned up from handwriting).



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       Unum contacted Black’s listed providers, sending a form that listed the

 physical requirements of Black’s position at Paycom and asking physicians whether

 they agreed that Black could perform the tasks.            NP Hamilton and Dr. Dike

 independently indicated that they agreed. 5         An analyst at Unum therefore

 determined Black was no longer covered under the Policy. On September 17, 2021,

 Unum discontinued Black’s disability payments.

       Black administratively appealed Unum’s decision, submitting additional

 medical records from her visit to NP Hamilton in August 2021 and her visits to

 Gregory Pearl, M.D. (Dr. Pearl) between October 2021 and February 2022. 6 Dr. Pearl

 issued a report on February 9, 2022, describing Black’s self-reported “significant

 problems with her right upper extremity” and various longstanding symptoms. 7 He

 wrote that “virtually all of [Black’s] pain was alleviated” temporarily following a

 muscle block administered in November 2021, and that much of her pain continued

 to be “markedly improved.” 8 Dr. Pearl also authored a letter in December 2021,

 outlining Black’s limitations while recovering from a surgery scheduled for the end of

 the month: “no lifting, pushing or pulling anything greater than 10 pounds and

 avoiding any repetitive motions of the surgical arm.” 9




         5 UA-REMAND-CL-LTD-002191, 2198. Unum claims “Dr. Blumenthal did not respond and

 Plaintiff subsequently confirmed she was no longer seeing him.” Doc. 100 at 6 n.1.
       6 UA-REMAND-CL-LTD-002390.

       7 UA-REMAND-CL-LTD-002408–09.

       8 UA-REMAND-CL-LTD-002409.

       9 UA-REMAND-CL-LTD-002407.



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       On appeal, a registered nurse employed by Unum reviewed her case: Amanda

 Abbott, R.N. (Nurse Abbott). Nurse Abbott reviewed the reports of Black’s treating

 physicians and affirmed that they cleared Black to perform sedentary work, so Unum

 denied Black’s appeal. Black asked Unum to reconsider, but Unum declined. Black

 subsequently filed this suit.

                       B. Lawsuit to Appeal Unum’s Denial

       At the summary judgment stage, this Court agreed with Black that Unum

 failed to provide a full and fair review of Black’s case, as ERISA requires. 10 The

 Court’s opinion ruled that Unum denied coverage based on medical judgment and in

 doing so, “did not meet ERISA’s procedural requirements for two reasons: (1) Nurse

 Abbott’s review essentially gave deference to the initial denial of Black’s claim, and

 (2) Nurse Abbott was not a qualified health care professional to perform the

 consultation.” 11 So the Court granted Black’s motion for partial summary judgment

 and remanded the case back to Unum to conduct an ERISA-compliant review.

       On remand, Unum consulted doctors Arlen Green, D.O. (Dr. Green), and Eric

 Wellons, M.D. (Dr. Wellons). Unum started with Dr. Green, who is certified in

 physical medicine and rehabilitation. Dr. Green concluded “with a reasonable degree

 of medical certainty, [that] the medical evidence/file information does not support

 restrictions and limitations precluding the claimant from performing the

 occupational demands defined as of 9/17/21.” 12 However, Black argued Dr. Green


       10 Doc. 80.

       11 Id. at 6.

       12 UA-REMAND-CL-LTD-002702.



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 lacked the necessary qualifications to opine on thoracic outlet syndrome. So Unum

 then consulted Dr. Wellons, a vascular surgeon. After reviewing Black’s medical

 records, Dr. Wellons wrote, “there are no clinical, exam or diagnostic findings during

 the period under review that would support [restrictions and limitations] precluding

 performance of the outlined occupational demands.” 13

                                        II. Legal Standard

        ERISA “permits a person denied benefits under an employee benefit plan to

 challenge that denial in federal court.” 14                Federal courts then review plan

 administrators’ determinations de novo unless the benefit plan gives the

 administrator “discretionary authority to determine eligibility for benefits or to

 construe the terms of the plan.” 15 The parties here agree that Unum had such

 discretion, so the Court reviews Unum’s denial of coverage for abuse of discretion. 16

 “A plan administrator abuses its discretion where the decision is not based on

 evidence, even if disputable, that clearly supports the basis for its denial.” 17 “If the




        13 UA-REMAND-CL-LTD-002829.

        14 Singletary v. United Parcel Serv., Inc., 828 F.3d 342, 346 (5th Cir. 2016).

        15 Firestone Tire & Rubber Co. v. Bruch, 489 U.S. 101, 115 (1989).

        16 See Gift v. Anadarko Petro. Corp. Change of Control Severance Plan, 2024 WL 4689051, at

 *1 (5th Cir. Nov. 6, 2024); Killen v. Reliance Std. Life Ins. Co., 776 F.3d 303, 307 (5th Cir. 2015).
 Additionally, the Policy language itself grants Unum discretion in eligibility determinations: “You are
 disabled when Unum determines that you are limited from performing the material and substantial
 duties of your regular occupation” and “[a]fter 24 months of payments, you are disabled when Unum
 determines that due to the same sickness or injury, you are unable to perform the duties of any gainful
 occupation . . . .” UA-REMAND-CL-LTD-000096 (emphasis added).
        17 Holland v. Int’l Paper Co. Ret. Plan, 576 F.3d 240, 246 (5th Cir. 2009) (cleaned up).



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 administrator’s decision is supported by substantial evidence and is not arbitrary and

 capricious, it must prevail.” 18

         If an administrator made its decision with some “rational connection between

 the known facts and the decision,” it is not arbitrary. 19 The Court’s “review of the

 administrator’s decision need not be particularly complex or technical; it need only

 assure that the administrator’s decision fall somewhere on a continuum of

 reasonableness—even if on the low end.” 20

         ERISA requires every employee benefit plan to “afford a reasonable

 opportunity . . . for a full and fair review” to any participant whose claim for benefits

 has been denied. 21         To conduct a full and fair review of any adverse benefit

 determination that is based in whole or in part on a medical judgment, the

 administrator “shall consult with a health care professional who has appropriate

 training and experience in the field of medicine involved in the medical judgment.” 22

 Further, this health care professional cannot be the same person who conducted the

 participant’s initial evaluation that resulted in denial of benefits, nor can it be a




         18 Salim v. La. Health Serv., 2023 WL 3222804, at *4 (5th Cir. May 3, 2023) (per curiam)

 (quoting Killen, 776 F.3d at 307) (cleaned up).
         19 Holland, 576 F.3d at 246 (quoting Meditrust Fin. Servs. Corp. v. Sterling Chems., Inc., 168

 F.3d 211, 215 (5th Cir. 1999)).
         20 Id. (quoting Corry v. Liberty Life Assurance Co., 499 F.3d 389, 398 (5th Cir. 2007)).

         21 29 U.S.C. § 1133(2).

         22 29 C.F.R. § 2560.503-1(h)(3)(iii).



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 subordinate of that person. 23 Any procedural defects in an administrator’s ERISA-

 covered actions are “evaluated under the substantial compliance standard.” 24

                                            III. Analysis

        In order to comply with ERISA, Unum’s denial must (1) be supported by

 substantial evidence after (2) a health care professional with appropriate training

 and experience in the relevant field reviewed Black’s claim. Black contends that “a

 ‘conclusory opinion’ by the administrator [] is ‘insufficient to carry its burden.’” 25 But

 Unum’s determination was not founded on its own conclusory opinions; rather, Unum

 relied on the medical judgment of at least four health care professionals, one of whom

 specializes in the field of Black’s primary illness. Dr. Dike, NP Hamilton, Dr. Green,

 and Dr. Wellons all opined that Black was clear to work on September 17, 2021.

              A. Unum Based its Decision on Substantial Evidence

        For Unum’s decision to be upheld, precedent does not require all available

 evidence to support it, only substantial evidence. 26 And here, there was substantial,

 concrete evidence in Black’s medical records and in the physicians’ opinions that she

 no longer qualified as disabled under the Policy as of September 17, 2021.

        Unlike cases in which the parties’ respective physicians issue conflicting

 opinions about the plaintiff’s disability status, 27 the physicians in this case largely




        23 Id. § 2560.503-1(h)(3)(v).

        24 Lafleur v. La. Health Serv. & Indem. Co., 563 F.3d 148, 154 (5th Cir. 2009).

        25 Doc. 104 at 42 (quoting Lafleur, 563 F.3d at 160 n.27).

        26 Killen, 776 F.3d at 307.

        27 See, e.g., id. at 309; Holland, 576 F.3d at 244–45.



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 agree. As Unum has argued, Black’s own treating physicians, Dr. Dike and NP

 Hamilton, cleared her for sedentary work as of September 17, 2021, and included

 nothing in their reports suggesting Black could not perform the duties of gainful

 occupation consistent with her experience, training, and education. 28 Even Dr. Pearl,

 on whose reports Black heavily relies, wrote in December 2021 (notably, after Black’s

 coverage had already lapsed, according to Unum) that Black reported “excellent

 temporary relief of her longstanding . . . symptoms” and that “virtually all of her pain

 was alleviated.” 29 Dr. Wellons concluded “there [we]re no clinical, exam or diagnostic

 findings during the period under review that would support [restrictions and

 limitations] precluding performance of the outlined occupational demands.” 30 And

 Dr. Wellons’s ultimate opinion came after a detailed report on Black’s medical history

 and symptoms; it was not conclusory.

         Yet even if the various physicians had come to conflicting conclusions about

 Black’s ability to return to work, “the job of weighing valid, conflicting professional

 medical opinions is not the job of the courts; that job has been given to the

 administrators of ERISA plans.” 31 Black posits that Unum “may not arbitrarily




         28 UA-REMAND-CL-LTD-002191, 2198

          29 UA-REMAND-CL-LTD-002410. Additionally, even the restrictions Dr. Pearl suggested

 Black adhere to following her surgery in late December 2021 do not clearly prevent her from
 performing her job. Her job description requires “[e]xerting up to 10 pounds of force occasionally,
 and/or a negligible amount of force frequently to lift, carry or otherwise move objects,” and “[f]requent
 fingering, keyboard use, talking.” UA-REMAND-CL-LTD-002492. Dr. Pearl’s letter instructs Black
 not to lift, push, or pull anything greater than 10 pounds and to avoid repetitive motions of the surgical
 arm. UA-REMAND-CL-LTD-002407.
         30 UA-REMAND-CL-LTD-002829.

         31 Killen, 776 F.3d at 308 (quoting Holland, 576 F.3d at 250).



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 refuse to credit [her] reliable evidence, including the opinions of a treating

 physician.” 32 She argues Unum must factor her pain and Dr. Pearl’s post-denial

 medical opinions into its decision. But her pain is described in her medical records—

 the very records the physicians reviewed to form their opinions. While the Court

 sympathizes with Black’s long-term pain, that pain does not invalidate all the other

 evidence in the record on which Unum based its decision. “Plan administrators may

 not ignore consistent complaints of pain as subjective, but they are not required to

 give such complaints determinative weight. Nor do plan administrators need to

 explain why they credited evidence that contradicts a claimant’s reported

 limitations.” 33

           Black also suggests Unum has a conflict of interest as the entity that both

 insures the Policy and decides which claimants receive coverage, and that this conflict

 affected its decision. 34 Courts recognize such conflicts of interest, but they are merely

 one factor among many when the Court reviews the administrator’s decision. 35 The

 Court gives conflicts of interest more weight when “procedural unreasonableness” is

 evident in the administrator’s review. 36                      As evidence of this procedural




           32 Doc. 104 at 42 (quoting Black & Decker Disability Plan v. Nord, 538 U.S. 822, 834 (2003)).

           33 Davis v. Aetna Life Ins. Co., 699 F. App’x 287, 296 (5th Cir. 2017) (cleaned up).

           34 Doc. 104 at 95.

           35 White v. Life Ins. Co. of N. Am., 892 F.3d 762, 767 (5th Cir. 2018).
                                                                                In Metro Life Ins. Co. v.
 Glenn, 554 U.S. 105 (2008), the Supreme Court “directly repudiated the application of any form of
 heightened standard of review to claims denials in which a conflict of interest is present.” Holland,
 576 F.3d at 248 n.3. Instead, a plan administrator’s conflict of interest is just one factor the Court
 considers in its abuse-of-discretion review. Id. (collecting cases).
           36 Id. (quoting Shexnayder v. Hartford Life & Accident Ins. Co., 600 F.3d 465, 469 (5th Cir.

 2010)).

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 unreasonableness, Black argues (1) Unum refused to consult with a qualified

 physician on appeal; (2) Unum printed and scanned Black’s records instead of

 reviewing them in their original digital form; and (3) Unum’s reviewing physicians

 failed to reference Dr. Pearl’s assessment that Black suffered severe longstanding

 symptoms. 37

       However, the Court has already noted Unum was not required to consult a

 physician with the same specialization as Black’s treating physician. And after Black

 objected to Dr. Green’s qualifications, Unum consulted Dr. Wellons, a relevant

 specialist. On Black’s second point, the fact that Unum printed and scanned Black’s

 records instead of reviewing them straight from the CD-ROM is not sufficient

 evidence of procedural unreasonableness. There is no evidence Unum withheld any

 records from Dr. Green or Dr. Wellons.          Black argues only that the reviewing

 physicians may not have seen the highlights she added to certain phrases that

 supported her claim. 38 If anything, that would have made the review process more

 objective, not less. And finally, on Black’s point that Unum’s doctors did not take Dr.

 Pearl’s assessment into account in their reviews, Dr. Wellons’s review refers directly

 and repeatedly to Dr. Pearl’s records. 39 Dr. Wellons may not have directly cited the




       37 Doc. 104 at 97.

       38 Id. at 96.

       39 UA-REMAND-CL-LTD-002832–34.



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 exact language Black wanted, but that does not mean he didn’t consider Dr. Pearl’s

 full report.

          On appeal, Unum denied coverage based on the medical opinions of Dr. Green

 and Dr. Wellons, who reviewed Black’s full medical records. Unum did not arbitrarily

 withhold records or evidence from the reviewing physicians, nor did it arbitrarily

 ignore dissenting opinions of other physicians. As a plan administrator, Unum had

 discretion to weigh all the evidence, and it concluded that Black failed to meet the

 definition of “disabled” under the Policy.

          The Court concludes that there is a rational connection between the evidence

 and Unum’s decision. Therefore, Unum did not abuse its discretion by denying

 Black’s claim on appeal.

                        B. Unum Consulted a Qualified Physician

          ERISA does not require a reviewing physician to have the exact same specialty

 as the claimant’s treating physician; 40 they must merely have the appropriate

 training and experience in the field of medicine involved in the medical judgment.” 41

 This is an easy case: Dr. Wellons is a board-certified vascular surgeon and so is Dr.

 Pearl.     Dr. Pearl may specialize more directly in thoracic outlet syndrome, but




          40 See Id. at 295.

          41 29 C.F.R. § 2560.503-1(h)(3)(iii).



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 administrators are not required to find specialized experts to review participants’

 files. 42

             In Davis v. Aetna Life Insurance, an administrator relied on the opinions of two

 occupational medical specialists. 43 The claimant argued the physicians were not

 board certified in rheumatology, the specialty of the claimant’s treating physician

 who supported a disability determination. 44 But the Fifth Circuit determined the

 occupational medicine specialists were qualified to review the claimant’s case. 45

 Here, Dr. Wellons, as a vascular surgeon, was certainly qualified to conduct a review

 of Black’s medical records and form an opinion on which Unum could rely.

                                              IV. Conclusion

             Unum argues this case is straightforward: (1) Plaintiff did not qualify as

 disabled under the Policy on September 17, 2021, and (2) her coverage terminated at

 that time. 46 After considering the parties’ arguments, the evidence, and relevant law,

 the Court concludes that substantial evidence supported that decision, and it was not

 arbitrary and capricious. The Court GRANTS Black’s motion to admit her trial

 exhibits as evidence. (Doc. 114). Considering the discussion above, which weighs the




             42 Davis, 699 F. App’x at 295.

             43 Id. at 295.

             44 Id.

             45 Id.

             46 Doc. 100 at 16.



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 evidence in Black’s exhibits, the Court GRANTS judgment on the record in favor

 of Unum.

       IT IS SO ORDERED this 2nd day of December, 2024.




                                      BRANTLEY STARR
                                      UNITED STATES DISTRICT JUDGE




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